Case: 6:17-cv-00157-CHB-HAI Doc #: 89 Filed: 09/18/18 Page: 1 of 1 - Page ID#: 649



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

                                                   )
 DAVID WILSON, as Administrator of the             )
 Estate of Lisa Noble,                             )            No. 6:17-CV-157-CHB-HAI
                                                   )
         Plaintiff,                                )
                                                   )
 v.                                                )                     ORDER
                                                   )
 BEACON TRANSPORT, LLC, and                        )
 TERRAN COOPER,                                    )
                                                   )
         Defendants.

                                        *** *** *** ***

       On September 18, 2018, counsel for Defendants contacted chambers to request a teleconference

to address a discovery dispute pertaining primarily to the expert discovery deadline. IT IS HEREBY

ORDERED THAT a telephonic conference, on the record, is SCHEDULED for Tuesday, September

25, 2018, at 3:00 p.m., before Magistrate Judge Hanly Ingram.

       Before the close of business on Friday, September 21, 2018, each side SHALL email to

Chambers (ingram_chambers@kyed.uscourts.gov) a brief (i.e., no more than two pages) summary of the

dispute. All submissions SHALL be copied to opposing counsel.

        To join the teleconference, the parties are DIRECTED to call AT&T Teleconferencing at 1-888-

675-2535, to enter Access Code 8810053 (followed by “#”), and, when requested, enter the Security Code

17157 (followed by “#”).

       This the 18th day of September, 2018.
